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Product Quest Manufacturing, LLC

4 Week Cash Flow




                                   Product Quest Manufacturing, LLC




                                               ATTORNEY CLIENT PRIVILEGE CLAIMED
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Product Quest Manufacturing, LLC
4 Week Cash Flow
 Summary Cash Flow
$000s omitted

Consolidated Cash Flow ($000's)
Week                                              1          2          3          4       4 Weeks
Date                                           9/14/18    9/21/18    9/28/18    10/5/18     Total
     Sales                                            -          -          -          -             -

Collections
     Trade Accounts Receivable                     352        398        161        632        1,544
     Other Collections                               -          -          -          -            -
     Additional Recoveries                           -          -          -          -            -
    Collections                                    352        398        161        632       1,544

Disbursements
    Operating Disbursements
           Payroll & Taxes                           2        627         15        154         798
           Benefits / Insurance                      -         14        198         10         222
           Utilities                                54          -          -          -          54
           Rent                                      -         48         50          -          98
           Employee Expenses                         7         19          7          7          38
           Other                                   163        152        119        163         596
            Operating Disbursements                226        860        388        333       1,806

Weekly CF before Non-Op Disbursements              126       (461)      (226)       299        (262)

    Non Operating Disbursements
           R&W Advisory and Liquidator               13        18         28         28          85
           Revolver interest                          -         -          -          -           -
           DIP Interest                               -         -          -          -           -
           Capital Expenditures                       -        10          -          -          10
            Non-Op Disbursements                     13        28         28         28          95

    Total Weeky Disbursements                      238        887        415        361       1,901

Weekly CF Change                                   114      (489)      (254)        272       (357)

            Cumulative Net Cash Flow               114      (375)      (629)      (357)       (357)

Beginning Cash                                    4,525      4,639      4,150      3,896       4,525
    Add:    Collections                             352        398        161        632       1,544
    Less:   Disbursements                           238        887        415        361       1,901
Ending Cash                                       4,639      4,150      3,896      4,168       4,168




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Product Quest Manufacturing, LLC

4 Week Cash Flow

Professional Fee Accrual Budget


                                                                                                                  4 Weeks
                                                          9/14/18      9/21/18       9/28/18      10/5/18          TOTAL
                   Conway MacKenzie                          117,275      117,275        96,275       81,875         412,700
                   King & Spalding                            40,000       25,000        20,000       12,500          97,500
                   Northen Blue                               15,000       15,000        15,000        7,500          52,500
                   Kurtzman Carson Consultants                13,200       11,000         7,700        4,400          36,300
                   UCC Professionals                               -            -         5,000        5,000          10,000
                   US Trustee Fees                             5,525       11,375             -            -          16,900
                   TOTAL WEEKLY ACCRUED AND UNPAID FEES     185,475       168,275       143,975      111,275         609,000




                                                           ATTORNEY CLIENT PRIVILEGE CLAIMED
